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                        Nos. 24-1109 (L); 24-1144

                                   In the

United States Court of Appeals
               For the Federal Circuit
                            __________________

HONEYWELL INTERNATIONAL INC.; HAND HELD PRODUCTS, INC.; METROLOGIC
                       INSTRUMENTS, INC.,
                                            Plaintiffs-Appellants,
                                     v.
                        OPTO ELECTRONICS CO., LTD.,
                                               Defendant-Cross-Appellant.
                           __________________

            On Appeal from the United States District Court
              for the Western District of North Carolina
                    Case No. 3:21-cv-506-KDB-DCK
                         __________________

        MOTION TO DISMISS OR TRANSFER APPEALS
    TO U.S. COURT OF APPEALS FOR THE FOURTH CIRCUIT
                     __________________

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                                    Ltd.
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 24-1109; 24-1144
   Short Case Caption Honeywell International Inc. v. OPTO Electronics Co., Ltd.
   Filing Party/Entity OPTO Electronics Co., Ltd.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


     Date: 11/24/2023                       Signature:    /s/ Brian D. Schmalzbach

                                            Name:         Brian D. Schmalzbach




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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




OPTO Electronics Co., Ltd.




                                  ‫܆‬      Additional pages attached




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FORM 9. Certificate of Interest                                                                   Form 9 (p. 3)
                                                                                                   March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable                      ‫܆‬        Additional pages attached
McGuireWoods LLP - Robert A.         McGuireWoods LLP - Tyler T.         Reichman Jorgensen Lehman &
Muckenfuss                           VanHoutan                           Feldberg LLP - Christine E. Lehman

McGuireWoods LLP - Zachary L.        YorkMoodyFaulkner - York M.
McCamey                              Faulkner

McGuireWoods LLP - Jessica L. O'Brien Reichman Jorgensen Lehman &
                                     Feldberg LLP - Connor S. Houghton



 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                                     ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
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 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable                      ‫܆‬        Additional pages attached




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                               INTRODUCTION

      The Fourth Circuit—and not this Court—has jurisdiction over these

appeals concerning an alleged breach of contract and various contract

defenses. The only basis for Plaintiff-Appellant Honeywell International

Inc.’s duplicative notice of appeal to this Court is that in one of those contract

defenses, Defendant OPTO Electronics Co. raised “the judicially created

patent misuse doctrine,” Illinois Tool Works, Inc. v. Indep. Ink, Inc., 547 U.S. 28,

31 (2006), to prevent Honeywell from enforcing its misconstruction of a

licensing agreement under Delaware law. But a patent misuse defense does

not arise under any “Act of Congress relating to patents or plant variety

protection.” 28 U.S.C. § 1295(a)(1). And this appeal involves no claim of

patent infringement, no claim that any patent is invalid, no attempt to render

any patent unenforceable, and nothing else that triggers this Court’s

jurisdiction under § 1295(a)(1). The only patent misuse defense presented

here—that part of a licensing agreement is unenforceable—has always been,

and continues to be, within the jurisdiction of the regional courts of appeals.

      In fact, Honeywell agreed until just now. Honeywell filed its notice of

appeal invoking the Fourth Circuit’s jurisdiction over three months ago,

followed by an amended notice of appeal reiterating that Court’s

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jurisdiction. It filed a docketing statement invoking the Fourth Circuit’s

jurisdiction under 28 U.S.C. § 1291, participated in the Fourth Circuit

mediation program, and filed a status report stating its plan to file its

principal brief in the Fourth Circuit “in accordance with the current Briefing

Order.” CA4 Dkt. 21 (Oct. 3, 2023). Yet one day before its opening brief deadline

in the Fourth Circuit, Honeywell moved to transfer the Fourth Circuit appeals

to this Court.

      Honeywell was right the first time. This case does not arise under any

patent act; it is a breach of contract case. The patent misuse question here

would prevent enforcement of certain provisions of a contract, not

enforcement of any patent. At most, the patent misuse issue makes this one

of the “non-patent patent cases” that “falls within the jurisdiction of the

regional courts of appeals rather than the Federal Circuit.” Cnty. Materials

Corp. v. Allan Block Corp., 502 F.3d 730, 732 (7th Cir. 2007).

      So this Court should dismiss Honeywell’s appeal and OPTO’s

protective cross-appeal for lack of appellate jurisdiction. In the alternative,




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this Court should transfer those appeals to the Fourth Circuit where they

belong.1 Honeywell opposes this Motion and intends to file an opposition.

                             BACKGROUND

      The Settlement and License Agreement between Honeywell and

OPTO required OPTO to pay royalties on the sales of certain barcode

scanning products called “2D Barcode Products.” Agreement § 1.4 (Dkt. 163-

2). In contrast, products defined as “1D Barcode Products” are not royalty-

bearing products. Id. § 1.5. Instead, under the Agreement, Honeywell

conveyed a covenant not to sue to OPTO for its sales of all 1D Barcode

Products. Id. § 2.4. Honeywell’s Complaint asserted one count for breach of

contract, alleging that OPTO failed to pay royalties on sales of all covered

2D Barcode Products. Complaint ¶¶ 30-40 (Dkt. 1).

     The crux of the parties’ disagreement is over which OPTO products

are “2D Barcode Products.” OPTO sells two distinct kinds of barcode




1 OPTO plans to notify the Fourth Circuit in its forthcoming opposition to

Honeywell’s motion to transfer that the Fourth Circuit may wish to defer
resolution of Honeywell’s motion until this Court resolves OPTO’s motion
to transfer. That course would avoid the possibility of conflicting
jurisdictional determinations and make sense in light of this Court’s frequent
experience determining the scope of its jurisdiction under § 1295(a)(1) (as
amended).
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scanning products. Its second-generation 2D imaging scanners use cameras

(2D image sensors) and software to capture and decode electronic two-

dimensional images of barcode symbols, including complex two-

dimensional symbols like QR code. OPTO Resp. to Honeywell’s MSJ on

Contract Interpretation 2-3 (Dkt. 135). The parties do not dispute that these

products are 2D Barcode Products under the Agreement, and OPTO timely

paid all applicable royalties on sales of these second-generation products.

OPTO Breach of Contract MSJ 3-4 (Dkt. 133).

     The dispute instead focuses on OPTO’s legacy first-generation laser

scanners that, by contrast, measure varying light intensities reflected from a

barcode’s surface during each laser scan to decode simple barcode symbols

based on the measured widths of the alternating black bars and white spaces

(the black bars absorb and reflect less light than the white spaces). OPTO

Resp. to Honeywell’s MSJ on Contract Interpretation 2-3. OPTO’s laser

scanners decode only symbols that use alternating bars and spaces to encode

data, which can be either single row symbols like UPC symbols or mutli-row

symbols. Id. at 2-4. OPTO’s laser scanners do not decode complex symbols

like QR code that utilize entirely different data encoding schemes. See id. at

4-11. Although the products do not have a 2D image sensor, Honeywell

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contended that OPTO’s laser scanners are nevertheless 2D Barcode Products

based solely on their operability to decode multi-row symbols. Id. at 12-13.

Without conceding that multi-row symbols are “two-dimensional barcode

symbologies” within the meaning of the Agreement and to limit its potential

liability, OPTO disabled the multi-row symbol decoding function in its laser

scanners. OPTO Patent Misuse MSJ 6 (Dkt. 169). Since then, the laser

scanners sold by OPTO decode only single-row symbols, and Honeywell

makes no royalty demand on OPTO’s laser scanner sales now that the multi-

row symbol decoding function is disabled.

     Honeywell nevertheless sued OPTO, demanding royalties on OPTO’s

prior sales of laser scanners that were operable to decode multi-row

symbols. OPTO contends that the text of the agreement and subsequent

contracting history confirm that even OPTO laser scanners that decode

multi-row symbols are 1D Barcode Products and not 2D Barcode Products

because (1) the devices do not have a 2D image sensor and (2) multiple rows

of alternating bars and spaces are not “two-dimensional barcode

symbologies” within the meaning of the Agreement. OPTO Resp. to

Honeywell’s MSJ on Contract Interpretation 19-20. If OPTO’s interpretation



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prevails on appeal, then there is no breach of contract and there is no need

to apply the patent misuse doctrine.

      The patent misuse defense only comes into play under Honeywell’s

asserted reading of the contract as adopted by the district court. According

to Honeywell, whether the laser scanners are 1D Barcode Products covered

by the covenant not to sue depends entirely upon their multi-row symbol

decoding function—if turned on, then the products are 2D Barcode Products

and there is no protection from the covenant not to sue but if turned off, then

the products are 1D Barcode Products and the covenant applies. OPTO

Patent Misuse MSJ 6. Honeywell therefore conditions the covenant not to

sue and OPTO’s freedom to use any Honeywell patented technology in its

1D Barcode Products on a single product function—a laser scanner’s

operability to decode multi-row symbols. See id. at 6-7.

      If, as Honeywell contends, OPTO’s laser scanners are, in fact, 2D

Barcode Products based solely on their operability to decode multi-row

symbols, then Honeywell’s royalty demand results in patent misuse because

Honeywell owns no active patents that preclude OPTO, or any other person,

from decoding multi-row symbols with a laser scanner. Id. at 7. Honeywell

had three such patents claiming laser decoding of multi-row symbols but

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each patent either expired or was abandoned before the parties signed the

Agreement. OPTO Patent Misuse MSJ 4-6. Honeywell is therefore powerless

to prevent the sale of a laser scanner (or demand patent royalties) solely

because the device decodes multi-row symbols.

     OPTO’s Answer thus raised, among other affirmative defenses, that

Honeywell’s interpretation of the Agreement would result in OPTO paying

royalties on products (OPTO’s laser scanners) otherwise protected by

Honeywell’s covenant not to sue but for the products’ operability to perform

a non-patented function—decoding multi-row symbols. See id. at Second

Affirmative Defense ¶¶ 15-25. Honeywell’s conditioning of its covenant not

to sue on the presence or absence of non-patented product features is an

unlawful extension of Honeywell’s expired patents and the patents included

in its covenant not to sue—and so would constitute per se patent misuse.

Answer at 11–13. OPTO’s Answer likewise included, among others, a

counterclaim asserting patent misuse for the same reasons.

     OPTO moved for summary judgment on per se patent misuse, seeking

a declaration that “the royalty collection provisions of the Settlement and

License Agreement [are] unenforceable” because the “‘licensing agreement

provides royalties for post-expiration use of a patent.’” OPTO Patent Misuse

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MSJ 1-2 (quoting Kimble v. Marvel Ent., LLC, 576 U.S. 446, 459 (2015)). OPTO

thus clarified that its patent misuse affirmative defense and counterclaim

assert per se patent misuse under Kimble and that the relief it seeks is limited

to an order declaring the offending contract royalty provision unenforceable.

OPTO thereby disclaimed any attempt to declare any patents invalid or

unenforceable due to patent misuse. Id. at 10 (explaining that the

“appropriate remedy in the present action … is not invalidation of … any

patents belonging to Honeywell”), id. at 11 (“OPTO respectfully requests …

an order dismissing Honeywell’s Complaint and declaring the royalty

collection     provisions    of   the   Settlement   and     License    Agreement

unenforceable”); Opposition to Honeywell Patent Misuse MSJ at 1 (Dkt. 187)

(“As Honeywell has itself repeatedly emphasized, this is a breach of contract

action, and not a patent infringement action. OPTO is not challenging the

enforceability of any of Honeywell’s patents”); id. at 16 (“OPTO does not

challenge the enforceability of any patent”) (emphasis in original). Instead, the

only remedy sought for patent misuse was “an order declaring that the

Agreement’s royalty provisions are unenforceable.” OPTO Patent Misuse

MSJ at 10. The district court recognized that was the only remedy OPTO

sought. SJ Order 17 n.11 (Dkt. 195) (“OPTO seeks an order dismissing

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Honeywell's Complaint in this case and declaring the royalty collection

provisions of the Agreement unenforceable.”).2

      Although Kimble rejected rule of reason analysis for a patentee’s

demand for royalties on the use of expired patents, the district court held on

summary judgment that there was no per se patent misuse. It instead

required OPTO to present a rule of reason analysis of “Honeywell’s

economic power over such technology” at trial. SJ Order 23. Following a

bench trial, the district court held that OPTO failed to demonstrate that the

“license agreement had anticompetitive effects,” and thus entered judgment

against OPTO’s patent misuse defense. Id. at 23; Dkt. 368 at 87-88.

      Honeywell then noticed an appeal in the Fourth Circuit, which it later

amended. Honeywell CA4 Notice of Appeal at 1 (Dkt. 369); Honeywell

Amended CA4 Notice of Appeal (Dkt. 395). Honeywell also filed a docketing

statement invoking that Court’s jurisdiction under 28 U.S.C. § 1291,3


2 To be clear, OPTO is “not seeking to avoid the payment of royalties on its

‘2D Barcode Products’ that are not in dispute, only the approximately 50
‘laser scanning’ products that encompass the parties’ disagreement.” Id.

3 Section 1291 sets forth the jurisdiction of the regional courts of appeals,

explicitly excluding the Federal Circuit. 28 U.S.C. § 1291 (“The courts of
appeals (other than the United States Court of Appeals for the Federal
Circuit) shall have jurisdiction...”).
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participated in the Fourth Circuit’s mediation program, and filed a status

report stating its plan to file its principal brief in the Fourth Circuit “in

accordance with the current Briefing Order.” CA4 Dkt. 21 (Oct. 3, 2023). On

October 4, 2023, OPTO filed a cross notice of appeal in the Fourth Circuit.

OPTO CA4 Notice of Appeal (Dkt. 398). Then, on October 27, 2023,

Honeywell filed a parallel Notice of Appeal on the alleged grounds that the

Federal Circuit has jurisdiction based on the patent misuse judgment.

Honeywell Fed. Cir. Notice of Appeal at 1 (Dkt. 402). On November 13,

2023—around six weeks after OPTO’s notice of appeal on patent misuse and

the day before Honeywell’s opening brief was due—Honeywell moved to

dismiss the Fourth Circuit appeals or transfer them to this Court. CA4 Dkt.

30.4




4 Honeywell’s dilatory request to switch appellate forums prejudices OPTO

for two reasons. First, there is (for now) a non-trivial monetary judgment
accruing interest. Second, OPTO risks liability for ongoing monthly
contractual late fees, the imposition of which will depend on the litigation’s
outcome.
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                                 ARGUMENT

I.    Federal Circuit jurisdiction is limited to claims or counterclaims
      arising under an “Act of Congress relating to patents.”

      This Court’s jurisdiction is limited to appeals in a “civil action arising

under, or in any civil action in which a party has asserted a compulsory

counterclaim arising under, any Act of Congress relating to patents or plant

variety protection.” 28 U.S.C. § 1295(a)(1). To satisfy that “arising under”

test, “[i]t is not enough that patent law issues are in the air.” In re Lipitor

Antitrust Litigation, 855 F.3d 126, 145 (3d Cir. 2017).

      Rather, a Federal Circuit case must “arise under” a patent act in one of

two specific ways. First, a case arises under a patent act when such an act

“creates the cause of action” asserted. Christianson v. Colt Indus. Operating

Corp., 486 U.S. 800, 809 (1988). Second, a case can arise under a patent act if a

claim “necessarily depends on resolution of a substantial question of federal

patent law, in that patent law is a necessary element of one of the well-

pleaded claims.” Id.

      Either way, § 1295(a)(1) confines this Court’s jurisdiction to statutory

patent issues. That jurisdiction extends only to cases involving a claim or

compulsory counterclaim “arising under” “any Act of Congress relating to


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patents.” 28 U.S.C. § 1295(a)(1) (emphasis added). That “Act of Congress”

requirement is meaningful, and ignoring it would run “afoul of the cardinal

principle of interpretation that courts must give effect, if possible, to every

clause and word of a statute.” Loughrin v. United States, 573 U.S. 351, 358

(2014) (cleaned up). Furthermore, the “Act of Congress” language is distinct

from § 1331’s extension of federal question jurisdiction to “all civil actions

arising under the Constitution, laws, or treaties of the United States.” 28

U.S.C. § 1331. As the Supreme Court has “often noted,” when “Congress

includes particular language in one section of a statute but omits it in another

… this Court presumes that Congress intended a difference in meaning.”

Loughrin, 573 U.S. at 358. By adding the “Act of Congress” language,

Congress made clear its intent to confine this Court’s jurisdiction to statutory

patent claims.

      The history of § 1295(a)(1) confirms that the statute does not inject

nonstatutory patent-related issues like patent misuse to this Court’s docket.

Since the beginning of the Federal Circuit in 1982, most appellate precedent

on patent misuse arose in the regional courts of appeals.5 The 2011


5 See, e.g., Kimble v. Marvel Ent., LLC, 576 U.S. 446 (2015) (on writ of certiorari

from the Ninth Circuit); Cnty. Materials Corp. v. Allan Block Corp., 502 F.3d
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amendment to § 1295 was not meant to disturb that allocation of

responsibility. Rather, the 2011 Leahy-Smith America Invents Act (“AIA”)

amended the statute to ensure that compulsory counterclaims for patent

infringement—the Federal Circuit’s bread and butter—would go to the

Federal Circuit. See 125 Stat. 331 § 19(b) (Sept. 16, 2011). That amendment

overruled    a   Supreme      Court    decision    holding    that   “compulsory

counterclaim[s] alleging patent infringement” were outside the Federal

Circuit’s jurisdiction. Holmes Grp., Inc. v. Vornado Air Circulation Sys., Inc., 535

U.S. 826, 828-30 (2002). That “Holmes Group fix” confirming this Court’s

jurisdiction over all patent infringement claims did not disturb the regional

circuits’ jurisdiction over nonstatutory issues like patent misuse.6




730 (7th Cir. 2007); Scheiber v. Dolby Labs., Inc., 293 F.3d 1014, 1016 (7th Cir.
2002); Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1214–21 (9th
Cir. 1997); Clausen Co. v. Dynatron/Bondo Corp., 889 F.2d 459, 465 (3d Cir.
1989); Meehan v. PPG Inds., Inc., 802 F.2d 881 (7th Cir. 1986); Boggild v. Kenner
Prods., Div. of CPG Prods. Corp., 776 F.2d 1315, 1317 (6th Cir. 1985). This
continues a long history of pre-Federal Circuit regional court decisions on
the doctrine. Compton v. Metal Prods., 453 F.2d 38, 43 (4th Cir. 1971); E.
Venetian Blind Co. v. Acme Steel Co., 188 F.2d 247 (1951).

6 “Senate Debate — 157 Cong. Rec. S1378 (Senator Kyl) (calling the
amendment the “Holmes Group fix”) in Patrick A. Doody, Comprehensive
Legislative History of the Leahy-Smith America Invents Act 473-76.


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II.   No patent Act creates any cause of action in OPTO’s counterclaims.

      No “Act of Congress relating to patents” creates the cause of action in

OPTO’s patent-misuse counterclaim. To the contrary, the Answer states that

OPTO’s “counterclaims arise under Delaware common law and North

Carolina statutory law.” Answer at 17 (emphasis added). At no point does

OPTO raise a claim under federal law, much less under an Act of Congress

relating to patents.

      No patent act creates any cause of action for patent misuse anyway.

Courts, including the Supreme Court, have consistently held that patent

misuse is a “judicially created” doctrine. Illinois Tool Works, 547 U.S. at 31; B.

Braun Med., Inc. v. Abbott Labs., 124 F.3d 1419, 1427 (Fed. Cir. 1997) (“the

patent misuse doctrine is an extension of the equitable doctrine of unclean

hands”). And the en banc Federal Circuit explained that patent misuse

“developed as a nonstatutory defense to claims of patent infringement.”

Princo Corp. v. Int’l Trade Com’n, 616 F.3d 1318, 1321 (Fed. Cir. 2010) (en banc)

(emphasis added); see also B. Braun Med., Inc., 124 F.3d at 1427 (the patent

misuse doctrine arose “to restrain practices that did not in themselves violate

any law” but “were deemed to be contrary to public policy”). Thus there is

no statutory basis of the defense of patent misuse.

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       Nor has Congress transformed this judge-made doctrine into statutory

patent law. All Congress has said is what is not patent misuse. See 35 U.S.C.

§ 271(d). By doing so, Congress cabined (rather than created) the judge-made

doctrine. 7 And § 271(d) has nothing to do with the patent misuse argument

in this case. So no “Act of Congress” creates the cause of action on which

Honeywell relies.

III.   No counterclaim depends on resolution of any substantial question
       under any patent Act.

       In its Fourth Circuit motion, Honeywell instead argued that this

appeal “‘necessarily depends on resolution of a substantial question of federal

patent law.’” Honeywell CA4 Motion 5 (quoting Christianson, 486 U.S. at

809). That theory fails for the same reason as above: OPTO’s counterclaim

does not require resolution of any question under an “Act of Congress

relating to patents,” period. See Part II supra. But this Court also lacks

jurisdiction for an independent reason: even if there were any relevant

statutory patent question, it would not be a necessary and substantial question.




7 The legislative history of Section 271(d) confirms that the doctrine remains

judge-made law. Statement of Rep. Kastenmeier in 9 Chisum on Patents -
Patent Misuse Reform (“Patent misuse is a judicially developed doctrine of
patent law”).
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      A.    Substantial question jurisdiction is narrow and rare.

      To determine whether a claim raises a “substantial question” under a

patent act, courts look “to the importance of the issue to the federal system

as a whole.” AbbVie, Inc., 976 F.3d 327, 347 (3d Cir. 2020) (applying Gunn v.

Minton, 568 U.S. 251, 260 (2013)) in a case involving § 1295). As Gunn

explains, this is a “special and small category.” 568 U.S. at 258. OPTO’s

counterclaim presents no substantial question of importance to the federal

patent system generally for the same reasons that other courts have rejected

similar jurisdiction.

      The Supreme Court set out the modern “arising under” test in Gunn v.

Minton. The case concerned an attorney malpractice claim. Gunn, 568 U.S. at

255. Plaintiff alleged that the defendants, his former attorneys, had failed to

make an argument in a separate proceeding, resulting in the invalidation of

his patent. Id. The Court “acknowledge[d] that resolution of a federal patent

question [was] ‘necessary’ to [plaintiff’s] case,” id. at 259,8 but found that the


8 In the original action, the plaintiff had brought a patent infringement case

against a company. In defense, the company cited 35 U.S.C. § 102(b) and
asserted that the plaintiff’s patent was invalid because the product had been
“on sale” for over a year before plaintiff filed for a patent. Gunn, 568 U.S. at
254. In the malpractice case, Plaintiff argued that his attorneys failed to raise
the “experimental use” exception to the “on sale” bar. Id. This exception, as
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question was not substantial to “the federal system as a whole,” id. at 260. A

finding on this question, the Court reasoned, would be “fact-bound and

situation-specific” and would, at most, be limited to the parties. Id. at 263

(quotation marks and citation omitted). Therefore, allowing the state court

to decide the question would not threaten the “uniformity” of

interpretations of federal patent acts. Id. at 263-64. The malpractice case did

not “arise under” an Act of Congress relating to patents.

      Applying Gunn, in MDS (Canada) Inc. v. Rad Source Technologies, Inc.,

the Eleventh Circuit considered a case, like this one, over the scope of a

patent License Agreement. 720 F.3d 833 (11th Cir. 2013) (per curiam). The

Plaintiffs brought various claims, including for declaratory relief that the

defendant’s new product “embodied” a patent covered by the agreement.

Id. at 840.9 The appeal required review of the district court’s patent claim




the Federal Circuit has explained, is not a “free-standing doctrinal exception
to statutory bars.” EZ Dock v. Schafer Sys., Inc., 276 F.3d 1347, 1351 (Fed. Cir.
2002). Instead, it is part of “the inquiry on application of the statutory bar
itself.” Id. at 1352. Therefore, that experimental use question is part and
parcel of a question under “an Act of Congress relating to patents.”

9 As this action was brought before the AIA, only the Plaintiff’s claims (and

not any compulsory counterclaims) were relevant to the Eleventh Circuit’s
jurisdictional analysis. MDS (Canada), 720 F.3d at 841.
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construction, and “necessarily raise[d]” a claim of patent infringement under

35 U.S.C. § 271. Id. at 841-42, 846-48. Even so, the Eleventh Circuit found that

it retained jurisdiction because this question was “heavily fact-bound” and

lacked substantial importance to the federal system, as required by Gunn. Id.

at 842 As the Eleventh Circuit held, “the Federal Circuit [does not have]

exclusive jurisdiction to hear an appeal of a breach of contract claim that

would require the resolution of a claim of patent infringement for the

complainant to succeed.” Id. at 837-38.

      In Federal Trade Commission v. AbbVie, Inc., 976 F.3d 327 (3d Cir. 2020),

the Third Circuit likewise determined that it, not the Federal Circuit, had

jurisdiction over a case of alleged patent abuse. The Federal Trade

Commission (“FTC”) sued the defendant companies alleging that they had

engaged in sham patent infringement suits and had entered into anti-

competitive reverse-payment agreements with another company. Id. at 338.

Looking at the sham patent litigation theory, the only possible theory for

patent jurisdiction, the Court determined that it did not present a substantial

question because the theory was “purely backward looking” and would not

disturb the settlements in the purportedly sham litigation cases. Id. at 349.

Because the Third Circuit would not adjudicate the merits of the

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infringement claims, its decision would not implicate the uniformity

protected by the Federal Circuit. Id. at 350.

      B.    There is no substantial question of patent validity or
            enforceability here.

      As those cases illustrate, OPTO’s patent misuse counterclaim raises no

substantial question under any patent act.

            1.     This appeal presents a factbound, backward-looking
                   question of patent misuse.

      First, the patent misuse question here is factbound and would not

address any forward-looking issues with Honeywell’s patents. Such a

question is not a substantial one requiring exclusive Federal Circuit

jurisdiction. See AbbVie, 976 F.3d at 349 (“purely backward looking” issue

not substantial); MDS (Canada), 720 F.3d at 842 (“Because this question … is

heavily fact-bound, our resolution of this question is unlikely to control any

future cases.”).

      The appeal is limited to addressing the specific way that Honeywell

tried to interpret this specific contract with OPTO. See Opposition to

Honeywell Patent Misuse MSJ 8 (“Honeywell’s contract interpretation

results in patent misuse.”). There are no patent claim terms to construe, no

prior art to compare to a patent’s claims, and no patent infringement


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contentions to resolve. Even the incidental need to perform those patent-

related tasks to resolve a contract dispute does not create a substantial

question of patent law. See, e.g., MDS (Canada), 720 F.3d at 837-38 (no Federal

Circuit jurisdiction over “a breach of contract claim that would require the

resolution of a claim of patent infringement”). But this contractual

dispute does not even present those patent-related issues.

      Indeed, OPTO’s patent misuse counterclaim rises or falls, not on

questions of patent law, but on the parties’ competing contract

interpretations. Cf. DuVal Wiedmann, L.L.C. v. Inforocket.com, Inc., 374 F.

App’x 482, 484 (5th Cir. 2010) (“It is well settled that if the patentee pleads a

cause of action based on rights created by a contract, ... the case is not one

‘arising under’ the patent laws”) (quoting Jim Arnold Corp. v. Hydrotech Sys.,

Inc., 109 F.3d 1567, 1572 (Fed. Cir. 1997)). As Honeywell itself put it, “This is

a straightforward contract dispute that boils down to a simple question:

Does the License and Settlement Agreement’s definition of royalty-bearing

‘2D Barcode Products’ encompass OPTO’s so-called ‘laser scanning barcode

readers’?” Honeywell MTD OPTO’s Counterclaims 1 (Dkt. 21). When the

contract’s definitions of royalty-bearing products are properly construed as

urged by OPTO, there is no patent misuse because the accused OPTO laser

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scanners are non-royalty-bearing products within the scope of Honeywell’s

covenant not to sue. In contrast, Honeywell’s patent misuse arises only when

the contract is interpreted as urged by Honeywell and adopted by the district

court below as requiring patent royalties on OPTO’s sales of laser scanners

based solely on their operability to perform a non-patented function.

      As a practical matter, Honeywell’s patent misuse is directed to a finite

number of past laser scanner sales that predate OPTO’s removal of the non-

patented multi-row barcode decoding function. See supra at 5. Honeywell

demands no royalties and OPTO asserts no patent misuse regarding OPTO’s

current laser scanner sales. The patent misuse question on the license

agreement here is thus a backward-looking question without future effect.

See also Seed Co. Ltd. v. Westerman, 832 F.3d 325, 331 (D.C. Cir. 2016) (finding

that the D.C. Circuit has jurisdiction over a case that does not involve

“forward-looking questions about any patent’s validity”); Westlake Services,

LLC v. Credit Acceptance Corp., 800 F. App’x 505, 508 (9th Cir. 2020) (finding

that the Ninth Circuit has jurisdiction over a claim that “will have no

practical effect on the patent at issue nor will it impact the development of




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federal patent law”). There is thus little or no chance that resolution of this

question affects future patent litigation.10

            2.    This appeal        presents     no    question     of    patent
                  enforceability.

      Second, nothing about OPTO’s counterclaim affects the validity or

enforceability of Honeywell’s patents. See Aurafin-OroAmerica, LLC v. Fed.

Ins. Co., 188 F. App’x 565, 566 (9th Cir. 2006) (unpublished) (“Patent misuse

does not allege infringement of one’s patents…. patent misuse is not a true

intellectual property claim”); E. Venetian Blind Co., 188 F.2d at 254 (it is “well

established that even if a patentee has in the past misused his patents, he is

entitled to equitable relief after the misuse has been fully abandoned”). All

OPTO requests is a declaration that the Agreement’s royalty provisions are

not enforceable against OPTO’s sales of laser scanners operable to perform




10 Transferring this case would not promote uniformity in the patent misuse

doctrine in any event. Patent misuse may be raised as an affirmative defense
(rather than counterclaim) that creates no § 1295(a)(1) jurisdiction, and some
courts hold that patent misuse may be raised only as an affirmative
defense. See Robert Matthews, 4 Annotated Patent Digest § 28:3 (citing
cases). So the regional courts of appeals will continue to have jurisdiction
over patent misuse affirmative defenses in any event. OPTO pled patent
misuse as both an affirmative defense and counterclaim as a belt-and-
suspenders.


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the non-patented function of decoding multi-row bar-space symbols. See Bd.

of Regents Univ. of Tex. v. Nippon Tel. & Tel. Corp., 414 F.3d 1358, 1362 (Fed.

Cir. 2005) (“special attention [should be] directed to the relief requested”).

      In its Fourth Circuit motion, Honeywell hung its hat on the false notion

that the patent misuse issue in this appeal is about “patent unenforceability.”

Honeywell CA4 Motion 4-9. But there are no active patents to be enforced

here. Honeywell demands royalties on OPTO laser scanner sales based

solely on functionality once claimed in expired or abandoned Honeywell

patents. See supra at 6-7; see also Chandler v. Phoenix Servs. LLC, 1 F.4th 1013,

1016 (Fed. Cir. 2021) (patent question not substantial where “[t]he

enforceability of the patent is no longer at issue”).

      In those cases, the Supreme Court prescribes that the remedy is to

decline enforcement of contract royalty provisions requiring post-expiration

patent royalties. See Brulotte v. Thys Co., 379 U.S. 29, 32 (1964) (“a patentee’s

use of a royalty agreement that projects beyond the expiration date of the

patent is unlawful per se”); see also Kimble, 576 U.S. 446. That is why OPTO

has repeatedly stated that the remedy for Honeywell’s patent misuse is

holding the contract royalty provisions unenforceable as to OPTO’s sales of

laser scanners—not holding any patent unenforceable. See supra at 5.

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      Honeywell rested its argument for Federal Circuit jurisdiction on the

Answer’s reference to “patent unenforceability,” which Honeywell

supposed was dispositive under the well-pleaded complaint rule.

Honeywell CA4 Motion 4 n.2. Not so. The well-pleaded complaint rule

merely determines jurisdiction based on the necessary elements of the claim,

rather than “‘anything alleged in anticipation or avoidance of defenses.’”

Christianson, 486 U.S. at 809. But that rule does not require courts to turn a

blind eye to the record revealing the nature of that claim. “Rather, ‘in the

context of possible federal-question jurisdiction,’ it is appropriate for the

court to conduct an examination of the record as a whole ‘to reveal the true

nature of the plaintiff’s claim.’’’ Old Dominion Elec. Co-op v. PJM

Interconnection, Inc., 24 F.4th 271, 284 n.9 (4th Cir. 2022) (quoting 14C Charles

A. Wright et al., Federal Practice & Procedure § 3734 (rev. 4th ed. 2021))

(holding it proper to “consider[] matters outside the pleadings” in

jurisdictional analysis). Here, the record confirms that the patent misuse

issue in this case (which is based on Honeywell’s allegations of a breach of

contract) concerns the unenforceability of a contract. Honeywell’s theory of

Federal Circuit jurisdiction thus fails because the record confirms there is no

question of patent enforceability.

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                             CONCLUSION

     For these reasons, this Court should dismiss these appeals for lack of

appellate jurisdiction under 28 U.S.C. § 1295(a)(1). As Honeywell argued in

its Fourth Circuit motion, dismissal is appropriate because identical appeals

are already pending in the Fourth Circuit. Honeywell CA4 Motion 9-10. In

the alternative, the Court should transfer the appeals to the Fourth Circuit

for consolidation with the appeals pending there.

Dated: November 24, 2023           Respectfully submitted,


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                    CERTIFICATE OF COMPLIANCE

     1.    This motion complies with the type-volume limitations of Fed.

R. App. P. 27(d)(2)(A) because it contains 5,168 words, excluding the parts

of the brief exempted by Fed. R. App. P. 32(f).

     2.    This motion complies with the typeface and type-style

requirements of Fed. R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because

it has been prepared in a proportionally spaced, 14-point Book Antiqua font

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                                   /s/ Brian D. Schmalzbach
                                   Brian D. Schmalzbach




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                         CERTIFICATE OF SERVICE

     I hereby certify that on November 24, 2023, the foregoing was filed

with the Clerk of the United States Court of Appeals for the Federal Circuit

using the appellate CM/ECF system, which will also serve counsel of record.


                                    /s/ Brian D. Schmalzbach
                                    Brian D. Schmalzbach




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